20-22962-shl          Doc 98     Filed 09/04/20 Entered 09/04/20 15:05:22                     Main Document
                                              Pg 1 of 20
                                                               Hearing Date and Time: To Be Determined
                                                              Objection Date and Time: To Be Determined

SQUIRE PATTON BOGGS (US) LLP
Stephen D. Lerner
201 E. Fourth St., Suite 1900
Cincinnati, Ohio 45202
Telephone: 513-361-1200
Facsimile: 513-361-1201
Email: stephen.lerner@squirepb.com

Norman N. Kinel
Jihyun Park
1211 Avenue of the Americas, 26th Floor
New York, NY 10036
Telephone: 212-872-9800
Facsimile: 212-872-9815
Email: norman.kinel@squirepb.com
Email: jihyun.park@squirepb.com

Counsel to GSSG Capital Corp.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


  In re                                                                  Chapter 11

  KB US Holdings, Inc., et al.,                                          Case No. 20-22962 (SHL)

                     Debtors.1                                           (Jointly Administered)


  GSSG CAPITAL CORP.’S MOTION TO DISMISS DEBTORS’ CHAPTER 11 CASES

          GSSG Capital Corp. (“GSSG”) hereby submits this motion seeking entry of an order

substantially in the form attached hereto as Exhibit A (the “Order”), (i) dismissing the chapter

11 cases of KB US Holdings, Inc. (“Holdings”) and its debtor affiliates (collectively, the

“Debtors”) pursuant to section 1112(b) of title 11 of the United States Code (the “Bankruptcy



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: KB US Holdings, Inc. (1000), KB Holding, Inc. (3082), AG Kings Holdings, Inc. (8681), AG Holdings
II, Inc. (3828), Kings Super Markets, Inc. (6769), Balducci’s Holdings LLC (1913), Balducci’s Connecticut LLC
(1945), Balducci’s Maryland LLC (1926), Balducci’s Virginia LLC (1949), and Balducci’s New York LLC (1934).
The location of the Debtors’ corporate headquarters is 700 Lanidex Plaza, Parsippany, NJ 07054.



010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98      Filed 09/04/20 Entered 09/04/20 15:05:22                     Main Document
                                               Pg 2 of 20



    Code”) and rule 1017 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

    (ii) finding that the APA (defined below) is void as a matter of law; and (iii) granting related

    relief. In support of this motion, GSSG respectfully states as follows:

                                     PRELIMINARY STATEMENT

          1.      GSSG seeks immediate dismissal of the Debtors’ cases for cause and for lack of

subject matter jurisdiction. The Debtors purportedly filed these cases with authorization from their

respective governing bodies. However, as presented in further detail below, the Debtors did not

and could not have obtained the requisite authorization.

          2.      Pursuant to Delaware law and Holdings’ governance documents, the Holdings

board of directors presently is fixed at eight members (such board of directors constituting eight

members, the “Board of Directors”) and, thus, requires a quorum of five directors in order to act

on Holdings’ behalf. According to the Debtors’ own admissions during the first day hearing and

in their filings, as of the Petition Date (defined below), Holdings’ Board of Directors had only

three directors, each holding one vote as to the decision to file for bankruptcy, and five vacancies.2

Vacancies are irrelevant in determining a quorum, and the quorum for the Holdings’ Board of

Directors remains five. Thus, Holdings could not have achieved a quorum with the current three

members of the Board of Directors.

          3.      Section 1112(b) of the Bankruptcy Code provides that a court shall dismiss a

bankruptcy case for cause. A lack of authority to file has been held to constitute an independent

ground for “cause” for relief under section 1112(b). Courts have further held that if a bankruptcy




2
 Prior to filing this motion to dismiss, on September 4, 2020, non-debtor KB Group Holdings, Inc., a wholly owned
subsidiary of GSSG and the holder of 98.5% of the stock of Holdings, signed a Written Consent electing a new board
of directors of Holdings consisting of five independent directors. This newly elected board replaces the board in its
entirety. The five independent directors are: William H. Henrich, Andrew R. Wright, Bradley E. Scher, Michael T.
Sullivan and Seth E. Lemler.

                                                        -2-

010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22            Main Document
                                            Pg 3 of 20



petition is filed without proper authorization, the bankruptcy court lacks subject matter jurisdiction

over the case and must dismiss such case. Accordingly, GSSG respectfully requests that the Court

dismiss Holdings’ case. Moreover, under Delaware law, subsidiaries owe duties to act in the

interest of their parent and shareholders. GSSG does not know if the bankruptcy filings of

Holdings’ debtor-affiliates (collectively, without Holdings, the “Other Debtors”) were technically

properly authorized. However, given that Holdings’ bankruptcy filing was not properly authorized

and that Delaware law makes the interests of the Other Debtors subservient to the interests of

Holdings, to the extent that any of the Other Debtors’ bankruptcy filings were technically in

compliance with their governance requirements, dismissal of the Other Debtors’ cases is

nevertheless warranted and appropriate.

         4.       In addition, the APA (defined below), which represents a stalking horse bid for

substantially all of the Debtors’ assets and for which the Debtors are seeking approval as to bidding

procedures (see Docket No. 20), was not properly authorized by the Holdings’ Board of Directors.

Nor was the approval of GSSG or non-debtor KB Group Holdings, Inc. (“KB Group”), in their

capacities as shareholders, sought or obtained, as required under Delaware law and the Debtors’

governance documents. The Debtors cannot use the bankruptcy process to bypass the rights

afforded to GSSG and KB Group, under applicable law. Thus, GSSG respectfully requests that

the Court dismiss these chapter 11 cases and find that the APA is void as a matter of law.

                                         JURISDICTION

         5.       As further described below, these chapter 11 cases were filed without proper

authorization, and thus must be dismissed for lack of subject matter jurisdiction. However, without

waiving any objections regarding subject matter jurisdiction, GSSG acknowledges that this Court




                                                 -3-

010-9108-1536/11/AMERICAS
     20-22962-shl           Doc 98       Filed 09/04/20 Entered 09/04/20 15:05:22                     Main Document
                                                      Pg 4 of 20



     generally would otherwise have jurisdiction over the subject matter of this motion pursuant to 28

     U.S.C. § 157(b). Venue is proper under 28 U.S.C. §§ 1408 and 1409.

                6.       The statutory predicates for the relief requested herein are section 1112(b) of the

     Bankruptcy Code and Bankruptcy Rule 1017.

                                                      BACKGROUND

I.              The Debtors’ Governing Bodies

                7.       Holdings, a Debtor in these cases, is a Delaware corporation and the direct or

     indirect parent of the Other Debtors. Holdings is a wholly-owned subsidiary of non-debtor KB

     Group, which in turn is a wholly-owned subsidiary of GSSG.3

                8.       Pursuant to Holdings’ certificate of incorporation filed with the Delaware Secretary

     of State on July 18, 2016 (as further amended, modified, supplemented, or restated from time to

     time, the “Certificate of Incorporation”), “[t]he number of directors that shall constitute the entire

     Board of Directors shall be as specified in the By-laws of the Corporation.”4

                9.       Upon information and belief, the bylaws of Holdings adopted on July 22, 2016, as

     amended, including without limitation, on or about March 13, 2019 (the “Bylaws”),5 are Holdings’

     current bylaws. Pursuant to Article III, Section 2 of the Bylaws, “the number of directors may be

     fixed, from time to time, by the affirmative vote of a majority of the members of the entire Board

     of Directors or by action of the stockholders of the Corporation.”



     3
         The Debtors’ organization chart is attached hereto as Exhibit B.
     4
      The Certificate of Incorporation as filed on July 18, 2016, the Restated Certificate as filed on August 1, 2016, and a
     Certificate of Amendment as filed on March 13, 2019, are attached hereto collectively as Exhibit C.
     5
      The Bylaws of Holdings are attached hereto as Exhibit D. In June, 2020, GSSG requested copies of all governance
     documents and access to the Debtors’ data room. The data room did not contain the Bylaws or the UWC (defined
     below), which amended the Bylaws on or around March 13, 2019. GSSG and its counsel received the Bylaws from
     Debtors’ counsel via email upon request. GSSG is unaware of any amendment of the Bylaws of Holdings after March
     13, 2019. If they have been amended, Holdings and its board of directors failed to provide notice to GSSG.

                                                               -4-

     010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22           Main Document
                                            Pg 5 of 20



         10.      On or around March 13, 2019, Holdings’ Board of Directors, by unanimous written

consent, adopted resolutions that, among other things, fixed the number of directors at eight. A

copy of the Unanimous Written Consent of the Board of Directors of KB US Holdings, Inc.

effecting this change is attached hereto as Exhibit E (the “UWC”). Thereafter, the number of

directors constituting Holdings’ “entire Board of Directors” became eight. The March 13, 2019,

amendment to the Certificate of Incorporation further provides that the Board of Directors “shall

be divided into two classes: Class I and Class II.”

         11.      Prior to adoption of the UWC, the Board of Directors was fixed at six directors and

consisted of (i) five designees of GSSG (the “GSSG Designees”) and (ii) Judith Spires, the chief

executive officer of Holdings (the “CEO”). Pursuant to the UWC, the number of directors was

fixed at eight, and two newly appointed independent directors, Marc Beilinson and Scott Vogel

(the “Independent Directors”), were added to the Board of Directors. As discussed in greater detail

below, the CEO and the Independent Directors were designated as Class I Directors and the GSSG

Designees were designated as Class II Directors (as such terms are defined in the Certificate of

Incorporation).

         12.      In addition to increasing the number of directors of the Holdings’ Board of

Directors, the UWC also established a special transaction committee of the Holdings’ Board of

Directors (the “Special Committee”). The Special Committee was comprised of the CEO and the

Independent Directors and was authorized “to investigate, evaluate, respond to and if appropriate,

negotiate and approve subject to the final approval of the full Board and the stockholders, as

required by applicable law, a Potential Transaction.” The UWC defined a “Potential Transaction”

as “potential business opportunities for [Holdings] including one or more strategic transactions.”




                                                  -5-

010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98    Filed 09/04/20 Entered 09/04/20 15:05:22              Main Document
                                             Pg 6 of 20



         13.      The UWC also amended Holdings’ Certificate of Incorporation by fixing the voting

rights of the Class 1 and Class 2 directors. The amended Certificate of Incorporation provided as

follows with respect the voting rights of Holdings’ Directors:

                  Except as expressly set forth herein with respect to Special Matters, each
                  director shall be entitled to cast one vote on any vote of the Board of
                  Directors at a meeting of the Board of Directors (or in a unanimous written
                  consent in lieu thereof). On each Special Matter proposed to be approved,
                  adopted or authorized and recommended to the stockholders by the Board
                  of Directors, each Class I Director shall be entitled to cast six votes and each
                  Class II Director shall be entitled to cast one vote (solely for purposes of
                  any vote of the Board of Directors on such Special Matter) at a meeting of
                  the Board of Directors (or in a unanimous written consent in lieu thereof).

         14.      The amended Certificate of Incorporation defines “Special Matters” as the

following:

                  (i) the adoption, entry into or consummation of (and any amendment,
                  alteration or termination of) any merger, consolidation or sale, lease,
                  transfer or exchange of all or substantially all of the assets of the
                  Corporation in one transaction or a series of related transactions, or any
                  agreement of merger, consolidation or sale, lease, transfer or exchange of
                  all or substantially all of the assets of the Corporation in one transaction or
                  a series of related transactions, in each case, to which the Corporation is a
                  party or constituent entity and (ii) any action to effect such merger,
                  consolidation or sale, lease, transfer or exchange of all or substantially all
                  of the assets of the Corporation in one transaction or a series of related
                  transactions, in each case, excluding the filing of any bankruptcy petition
                  for the purpose of effecting any of the foregoing.

(emphasis added).

         15.      As a result of this voting scheme, the three Class 1 directors (the CEO and the

Independent Directors) had the ability to out vote the five Class 2 directors (the GSSG Designees)

only as to Special Matters. However, the filing of a chapter 11 petition for Holdings to implement

a sale of substantially all of the assets of Holdings is not a “Special Matter.”

         16.      On November 1, 2019, the collateral agent for certain lenders of the Debtors who

held pledges of stock of Debtor subsidiaries of Holdings, but not of the stock of Holdings,


                                                   -6-

010-9108-1536/11/AMERICAS
20-22962-shl           Doc 98      Filed 09/04/20 Entered 09/04/20 15:05:22                   Main Document
                                                Pg 7 of 20



exercised its proxy rights. The collateral agent (a) issued a “Notice Re: Exercise of Collateral

Agent’s Proxy Rights Following Event of Default and Removal and Appointment of Directors and

Officers” (the “Proxy Notice”), and (b) caused the sole stockholder of each of Debtors KB

Holding, Inc., AG Kings Holdings, Inc., AG Holdings II, Inc., and Kings Super Markets, Inc. (the

“Consenting Debtors”), to execute an Omnibus Written Consent (the “Collateral Agent Omnibus

Written Consent”).6 Pursuant to the Collateral Agent Omnibus Written Consent, (a) the directors

of each of the Consenting Debtors were removed and the CEO and the Independent Directors were

appointed to the board of directors of each of the Consenting Debtors, and (b) the number of

directors of Debtor KB Holding, Inc., was changed and fixed to three directors.

           17.     Notwithstanding these changes to the governance of the Consenting Debtors,

nothing contained in the Collateral Agent Omnibus Written Consent affected the governance of

Holdings, which remained an eight person Board of Directors with the special voting scheme

established in the UWC for Special Matters.

           18.     Upon information and belief, all of the GSSG Designees serving on the Holdings

Board of Directors resigned on or around December 2019, leaving only three directors, the CEO

and the Independent Directors to function—to the extent permitted by the Bylaws, the Certificate

of Incorporation, and applicable law—as the Board of Directors, with the entire Board of Directors

remaining an eight person board.

           19.     Importantly, upon information and belief, at no time prior to the commencement of

these chapter 11 cases were the GSSG Designees replaced as directors of Holdings.7 Thus, at all



6
    A copy of the Proxy Notice and the Collateral Agent Omnibus Written Consent are attached hereto as Exhibit F.
7
  GSSG did not receive any notice, prior to the commencement of these chapter 11 cases, as to whether the three
remaining directors on the Holdings Board of Directors appointed new directors to replace any of the GSSG Designees
who resigned in December 2019 or whether the Board of Directors has taken any action since March 2019 to amend
the Bylaws.

                                                        -7-

010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98    Filed 09/04/20 Entered 09/04/20 15:05:22            Main Document
                                             Pg 8 of 20



times after their resignation, the required eight member Board of Directors only had three directors,

with five unfilled vacancies.

         20.      In order for the Board of Directors to take action lawfully, a quorum must be present

at any meeting of the Board of Directors. Specifically, the Bylaws provide in Article III, section

9, that “[a] majority of the members of the entire Board of Directors shall constitute a quorum for

the transaction of business of any meeting of the Board of Directors, and . . . the act of a majority

of the members of the entire Board of Directors shall be the act of the Board of Directors.”

         21.      Likewise, Article FIFTH of the Certificate of Incorporation (“Article V”) provides

in section D, that the “affirmative vote of directors possessing a majority of the total voting power

of the members of the entire Board of Directors shall be the act of the Board of Directors with

respect to any matter.” As provided in Article V, section B, “each director shall be entitled to cast

one vote on any vote of the Board of Directors,” except with respect to the Special Matters, for

which “each Class I Director shall be entitled to cast six votes and each Class II Director shall be

entitled to cast one vote.”

         22.      Holdings’ Board of Directors today remains an eight member board according to

the Bylaws. At all times since the resignation of the GSSG Designees in December 2019, there

have been only three members of the Board of Directors, with five vacancies remaining. As such,

at no time since December 2019, has there been a quorum of at least five directors. And, as a

result, any actions taken by Holdings’ Board of Directors since December 2019, including the

decisions to enter into the APA and to file a chapter 11 petition, were not properly authorized.

Such actions are therefore void as a matter of law.




                                                  -8-

010-9108-1536/11/AMERICAS
      20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22           Main Document
                                                  Pg 9 of 20



II.            The Voluntary Petitions and Related Filings

               23.      On August 23, 2020 (the “Petition Date”), each of the Debtors filed voluntary

      petitions for relief under chapter 11 of the Bankruptcy Code (the “Petitions”) in the United States

      Bankruptcy Court for the Southern District of New York (this “Court”). The Petitions were

      purportedly authorized by “the required members of the board of directors, board of managers, or

      the sole member, as the case may be (as applicable, the “Governing Body” and, collectively, the

      “Governing Bodies”)” of each of the Debtors. See Docket No. 1.

               24.      According to the Declaration of M. Benjamin Jones Pursuant to Rule 1007-2 of

      Local Bankruptcy Rules for Southern District of New York [Docket No. 17] (the “First Day

      Declaration”), Holdings’ current Board of Directors is comprised of three individuals: the CEO

      and the two Independent Directors.

               25.      On August 24, 2020, the Debtors filed the Debtors’ Motion for Entry of (I) Order

      (A) Authorizing Performance Under the Stalking Horse Purchase Agreement, (B) Approving

      Bidding Procedures for the Sale of Assets, (C) Scheduling Hearings and Objection Deadline with

      Respect to the Sale, (D) Scheduling Bid Deadline and an Auction, (E) Approving the Form and

      Manner of Notice Thereof, (F) Approving Contract Assumption and Assignment Procedures, and

      (G) Granting Related Relief; and (II) Order Authorizing the Sale of Assets Free and Clear, (B)

      Authorizing Assumption and Assignment of Executory Contracts and Unexpired Leases, and (C)

      Granting Related Relief (the “Sale Motion”). Through the Sale Motion, the Debtors request,

      among other things, the authorization to perform under that certain Asset Purchase Agreement

      dated and executed as of July 13, 2020 (the “APA”), for the sale of substantially all of the Debtors’

      assets to TLI Bedrock, LLC (the “Stalking Horse Purchaser”).




                                                      -9-

      010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22            Main Document
                                            Pg 10 of 20



         26.      In the months leading to the filing of these chapter 11 cases, GSSG, as the ultimate

controlling shareholder of the Debtors, requested, but was not provided, material details regarding

the Debtors’ ongoing efforts to restructure or engage in a transaction, including any potential sale.

Despite its rights under Delaware law, GSSG was not provided with the requested information and

was denied any meaningful opportunity to engage with the Debtors and their advisors so as to

collaborate on a mutually beneficial and value maximizing restructuring.            Aside from one

document dated January 2020 (apparently provided by the CEO to a principal at GSSG in March

2020) to the best of its knowledge, GSSG was not provided with any information or materials

regarding the restructuring process or a restructuring transaction. While the Debtors will no doubt

suggest that they were always willing to have a discussion with GSSG, the failure of the Debtors

to provide their controlling shareholder with all relevant information necessary to enable GSSG to

meaningfully participate in the Debtors’ restructuring efforts was prejudicial and contrary to the

Debtors’ legal and contractual obligations to GSSG.

         27.      In addition, much of the information provided by the Debtors to GSSG appears to

be misleading by omission. For example, the Debtors provided GSSG with the board meeting

materials purportedly provided to the three Holdings board members for each board meeting. The

materials for each board meeting included the minutes of the prior board meeting. Remarkably,

other than ambiguous references in the agendas of the June 25, 2019 and July 24, 2019 Holdings

board meetings to “Process Update,” the minutes of every board meeting conducted after the

establishment of the Special Committee in March 2019 are devoid of any reference to the Special

Committee or any discussion of the Special Matters that the Special Committee supposedly was

considering. Nor is there any reference in the minutes to any discussion or even an agenda topic

related to the sale/transaction process that was being run by the Debtors and their advisors that led



                                                 - 10 -

010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98      Filed 09/04/20 Entered 09/04/20 15:05:22                      Main Document
                                               Pg 11 of 20



to the execution of the APA or the consideration of a chapter 11 filing. It is not credible or

possible that the Holdings’ Board of Dreictors did not discuss these matters prior to signing the

APA or filing for bankruptcy; yet, if one reads the minutes of the board meetings provided by the

Debtors to GSSG, that is the conclusion one must reach.

           28.    Most tellingly, the Debtors completely ignored their contractual and legal

obligations to seek and obtain the consent of GSSG and Holdings’ non-debtor parent, KB Group,

a wholly owned subsidiary of GSSG, to the Debtors’ entry into the APA.8 GSSG only became

aware of the APA and the Debtors’ intent to file these chapter 11 cases after the Debtors filed for

bankruptcy. The Debtors provided no notice to GSSG of either their intent to file for bankruptcy

or of the execution of the APA on July 13, 2020, more than one month before the chapter 11

filings.

                                           RELIEF REQUESTED

           29.    GSSG seeks entry of an Order, substantially in the form attached hereto as Exhibit

A, (i) dismissing these chapter 11 cases pursuant to section 1112(b) of the Bankruptcy Code and

Bankruptcy Rule 1017; (ii) finding that the APA is null and void ab initio as a matter of law; and

(iii) granting related relief.




8
  The Certificate of Incorporation, Article SIXTH, provides that the “Board of Directors may exercise all such
authority and powers of this Corporation and do all such lawful acts and things as are not by statute or by this
Certificate of Incorporation directed or required to be exercised or done by the stockholders.” Section 271(a) of DGCL
requires shareholder consent for a sale of all or substantially all of a corporation’s assets. 8 Del. C. § 271(a)

                                                       - 11 -

010-9108-1536/11/AMERICAS
     20-22962-shl           Doc 98    Filed 09/04/20 Entered 09/04/20 15:05:22            Main Document
                                                   Pg 12 of 20



                                                  ARGUMENT

I.             Dismissal of Holdings’ chapter 11 case is mandatory and appropriate.

                       A.        The lack of authorization to file the bankruptcy petition constitutes
                                 “cause” for dismissal under section 1112(b) of the Bankruptcy Code.

               30.     Section 1112(b) of the Bankruptcy Code governs the dismissal of these chapter 11

     cases. It provides, in relevant part, that, “on request of a party in interest, and after notice and a

     hearing, the court shall . . . dismiss a [chapter 11 case] . . . for cause.” 11 U.S.C. § 1112(b)(1).

     Section 1112(b)(4) sets forth a non-exhaustive list of “causes” for dismissing a chapter 11 case.

     See In re BH S&B Holdings, LLC, 439 B.R. 342, 349 (Bankr. S.D.N.Y. 2010) (“the list of grounds

     for . . . dismissing a Chapter 11 case under § 1112(b) is illustrative, not exhaustive.”) (quoting C-

     TC 9th Ave. P’ship v. Norton Co. (In re C-TC 9th Ave. P’ship), 113 F.3d 1304, 1311 (2d Cir.

     1997)).

               31.     Bankruptcy courts, including this Court, have held that “the lack of authority to file

     a voluntary chapter 11 bankruptcy petition by the party filing it constitutes an independent ground

     for ‘cause’ for relief under § 1112(b) of the Bankruptcy Code.” In re 167 W. 133rd St. Hous. Dev.

     Fund Corp., No. 18-12043 (JLG), 2018 Bankr. LEXIS 2909, at *14 (Bankr. S.D.N.Y. Sept. 25,

     2018) (citing Price v. Gurney, 324 U.S. 100, 106 (1945)); see also In re NNN 123 N. Wacker, LLC,

     510 B.R. 854, 858 (Bankr. N.D. Ill. 2014); In re ComScape Telecomms., Inc., 423 B.R. 816, 829

     (Bankr. S.D. Ohio 2010); In re A-Z Elecs., LLC, 350 B.R. 886, 891 (Bankr. D. Idaho 2006).

               32.     A finding of a lack of authority to file not only establishes “cause” under section

     1112(b), but also leads to the conclusion that the bankruptcy court does not have subject matter

     jurisdiction over the proceedings. See In re Mid-South Bus. Assocs., 555 B.R. 565, 570 (Bankr.

     N.D. Miss. 2016) (“[A] bankruptcy court lacks subject matter jurisdiction over a bankruptcy




                                                       - 12 -

     010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22            Main Document
                                            Pg 13 of 20



petition filed without the required corporate authority.”) (citing Treen v. Orrill, Cordell, & Beary,

LLC (In re Delta Starr Broad., LLC), 422 Fed. Appx. 362, 368 (5th Cir. 2011)).

         33.      Dismissal of a bankruptcy petition filed without proper corporate authority is

mandatory. See In re Mid-South Bus. Assocs., 555 B.R. at 570 (“a bankruptcy petition filed

without proper corporate authority must be dismissed independent of any finding of ‘cause’ under

§ 1112(b), because if the Debtor did not have sufficient corporate authority for the filing of its

petition, then this Court lacks subject matter jurisdiction over the case.”) (citing Price, 324 U.S. at

106). Bankruptcy courts shall dismiss a chapter 11 petition where the individual instituting the

proceeding lacks authority under state law or the corporate governance instruments. See, e.g., In

re S&R Grandview, LLC, No. 13-03098-8-RDD, 2013 Bankr. LEXIS 4182, at *3 (Bankr. E.D.N.C.

Oct. 4, 2013) (citing Price, 324 U.S. at 106); Green Bridge Cap. S.A. v. Shapiro (In re FKF

Madison Park Grp. Owner, LLC), Nos. 10-11867 (KG), 10-56158, 2011 Bankr. LEXIS 344, at *8

(Bankr. D. Del. Jan. 31, 2011) (affirming that, “A party cannot subject an entity to bankruptcy

without authority.”).

         34.      This Court has consistently granted motions to dismiss where the movants

established that a proper authorization for filing of the bankruptcy petition was lacking. In In re

167 W. 133rd St., this Court granted a motion to dismiss a chapter 11 case because the movants

established “cause” for dismissal by demonstrating that the individual who filed the petition lacked

authority to file it. See generally, In re 167 W. 133rd St., 2018 Bankr. LEXIS 2909. The Court,

after reviewing the debtor’s certificate of incorporation and bylaws, determined that board actions

must be approved by a majority of the directors, constituting a quorum, and that corporate

documents can only be executed by officers. The Court then found that the individual who filed

the bankruptcy petition was neither a corporate officer nor a director, and thus lacked the authority



                                                - 13 -

010-9108-1536/11/AMERICAS
20-22962-shl           Doc 98    Filed 09/04/20 Entered 09/04/20 15:05:22           Main Document
                                              Pg 14 of 20



to act on behalf of the debtor. See id. at **16-21. Accordingly, the movants established “cause”

under section 1112(b) to dismiss the case. See id. at *21.

         35.      Likewise, in Pasta Bar, this Court granted a motion of dismiss filed by a 50%

membership interest owner because “the filing of the chapter 11 petition . . . was not properly

authorized.” In re Pasta Bar by Scotto II, No. 15-12766 (MG), 2015 Bankr. LEXIS 3941, at *2

(Bankr. S.D.N.Y. Nov. 19, 2015). The movant argued that under the express terms of the debtor’s

operating agreement, filing of a chapter 11 petition was a “Major Decision” requiring a

supermajority vote of 75% of membership interests, which was never obtained. See id. at **1-2.

The Court agreed, holding that the debtor’s operating agreement clearly provided that a

supermajority vote was required before filing a bankruptcy petition and the parties did not achieve

a supermajority vote. See id. at *8; accord In re S&R Grandview, 2013 Bankr. LEXIS 4182, at

*10 (finding that sufficient cause existed to dismiss the chapter 11 petition because the manager

did not have authority to file a bankruptcy petition on behalf of the debtor); In re Mid-South Bus.

Assocs., LLC, 555 B.R. at 577 (“Without a valid vote of the Debtor’s membership, which no one

alleges actually occurred, none of the members . . . had the authority to sign or file the petition on

behalf of the Debtor.”).

         36.      Accordingly, if the Court finds that Holdings did not have proper authorization to

file the bankruptcy petitions under applicable law, it is respectfully submitted that the Court must

dismiss Holdings’ chapter 11 case.

                  B.        The Holdings’ Board of Directors did not have the quorum of five votes
                            required to file the Petitions.

         37.      “[T]he Bankruptcy Code does not establish express rules relating to authority to file

a voluntary petition for relief.” In re Pasta Bar, 2015 Bankr. LEXIS 3941, at **6-7 (citing In re

Quad-C Funding, LLC, 496 B.R. 135, 141 (Bankr. S.D.N.Y. 2013) (citations omitted)). Rather,


                                                  - 14 -

010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22            Main Document
                                            Pg 15 of 20



“[d]etermining authority is a question of state law, and in the case of a limited liability company

is governed by the operating agreement, which defines the rights of members.” In re FKF Madison

Park, 2011 Bankr. LEXIS 344, at *8 (citing In re Am. Globus Corp., 195 B. R. 263, 265 (Bankr.

S.D.N.Y. 1996). If a petitioner does not have the authority to file a petition pursuant to applicable

state law, then the debtor’s case is subject to dismissal. See In re Pasta Bar, 2015 Bankr. LEXIS

3941, at *7 (citing In re E. End Dev., LLC, 491 B.R. 633, 638 (Bankr. E.D.N.Y. 2013)).

         38.      Under Delaware law, a board of directors cannot authorize a transaction without a

quorum, and any such transaction made without a quorum is void. See, e.g., Belle Isle Corp. v.

MacBean, 49 A.2d 5, 9 (Del. Ch. 1946); see also Applied Energetics Inc. v. Farley, No. 2018-

0489-JTL, 2020 Del. Ch. LEXIS 255, at *2 (Del. Ch. Aug. 3, 2020) (holding that the sole

remaining director on a three-member board could not validly have taken action because the

director could not satisfy the quorum requirement). Further, vacancies are irrelevant when

determining a quorum. See Applied Energetics, 2020 Del. Ch. LEXIS 255, at **36-37 (citing 2

Fletcher Cyclopedia of the Law of Corporations § 419, Westlaw (database updated Sept. 2019)

(“It is thus a matter of blackletter law that ‘vacancies in the board reducing the number to less than

a quorum of the number fixed by statute or otherwise preclude action by the remaining directors

other than to fill the vacancies.’”)).

         39.      Pursuant to Delaware General Corporation Law (“DGCL”), the “vote of the

majority of the directors present at a meeting at which a quorum is present shall be the act of the

board of directors unless the certificate of incorporation or the bylaws shall require a vote of a

greater number.” 8 Del. C. § 141(b). DGCL also provides that the “majority of the total number

of directors shall constitute a quorum for the transaction of business unless the certificate of

incorporation or the bylaws require a greater number.” Id.



                                                - 15 -

010-9108-1536/11/AMERICAS
      20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22            Main Document
                                                  Pg 16 of 20



               40.      Thus, under both Delaware law and the Debtors’ Bylaws and Certificate of

      Incorporation, a quorum constituting the affirmative vote of a majority of directors is required for

      Holdings’ Board of Directors to act on Holdings’ behalf. As more fully described above, pursuant

      to the terms of the Certificate of Incorporation and the Bylaws, Holdings’ Board of Directors is

      composed of eight directors and a quorum of five votes is required to take any action, including

      authorizing the filing of a bankruptcy petition. However, upon information and belief, and as

      represented by the Debtors in the First Day Declaration, at the time of the filing of these bankruptcy

      cases, only three directors remained on the Board of Directors. Even if all remaining directors

      (i.e., three) had voted to approve the bankruptcy filing, the Board of Directors—came short of

      achieving a quorum by two directors. Thus, the three directors—consisting of the CEO and the

      two Independent Directors did not have proper authorization to file the bankruptcy petitions on

      Holdings’ behalf and its bankruptcy case must therefore be dismissed.

II.            The Court should also dismiss the remaining chapter 11 cases.

               41.      In addition to dismissing the chapter 11 case of Holdings, GSSG respectfully

      requests that the Court dismiss the chapter 11 cases of the Other Debtors.

               42.      Under Delaware law, the directors of a wholly-owned subsidiary are obligated to

      manage the affairs of the subsidiary in the best interests of the parent and its shareholders. See

      Trenwick Am. Litig. Tr. v. Ernst & Young, L.L.P., 906 A.2d 168, 173 (Del. Ch. 2006) (“Wholly-

      owned subsidiary corporations are expected to operate for the benefit of their parent corporations;

      that is why they are created.”); see also Anadarko Petroleum Corp. v. Panhandle E. Corp., 545

      A.2d 1171, 1174 (Del. 1988) (citing Sinclair Oil Corp. v. Levien, 280 A.2d 717, 720 (Del. 1971));

      Goodman v. Futrovsky, 213 A.2d 899, 902 (Del. 1965). Moreover, subsidiary directors must act

      with loyalty to the parent “even if the directors’ actions make the subsidiary less valuable.”

      Lightsway Litig. Servs., LLC v. Yung (In re Tropicana Entm’t, LLC), 520 B.R. 455, 471 (Bankr.

                                                      - 16 -

      010-9108-1536/11/AMERICAS
       20-22962-shl      Doc 98    Filed 09/04/20 Entered 09/04/20 15:05:22               Main Document
                                                Pg 17 of 20



   D. Del. 2014) (citing Trenwick, 906 A.2d at 201). Parent companies direct the actions and

   activities of their subsidiaries. Subsidiaries are subservient to their parents and the decisions and

   actions of the ultimate parent control and take precedence over the decision and actions of their

   direct and indirect subsidiaries.

            43.      GSSG does not know if the applicable Governing Bodies of the Other Debtors

   complied with applicable law and their governance documents in purportedly authorizing their

   chapter 11 filings. And GSSG makes no claims or concessions as to the validity of any such

   authorizations. However, even if the voluntary petitions of the Other Debtors were technically

   properly authorized, such authorizations were made at the direction of Holdings, their ultimate

   parent Debtor. However, Holdings’ Board of Directors, at all relevant times, could not act on

   Holdings’ behalf and therefore could not properly direct the Other Debtors to authorize chapter 11

   filings or entry into the APA. Accordingly, the chapter 11 cases of the Other Debtors must also

   be dismissed.

III.        The APA is void for failure to notify and receive authorization from the shareholders.

            44.      The Debtors seek to use these unauthorized bankruptcy cases to bypass the

   requirements of DGCL and the applicable governance documents to seek shareholder approval of

   a sale of all or substantially all of their assets. These rights were granted to GSSG and KB Group

   Holdings, Inc., in their capacities as shareholders of Holdings.

            45.      Under DGCL, a corporation must receive authorization from a majority of

   shareholders to sell all or substantially all of its assets:

                     Every corporation may at any meeting of its board of directors or governing
                     body sell, lease or exchange all or substantially all of its property and assets,
                     . . . , as its board of directors or governing body deems expedient and for
                     the best interests of the corporation, when and as authorized by a
                     resolution adopted by the holders of a majority of the outstanding stock
                     of the corporation entitled to vote thereon or, if the corporation is a
                     nonstock corporation, by a majority of the members having the right to vote

                                                      - 17 -

   010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22           Main Document
                                            Pg 18 of 20



                  for the election of the members of the governing body and any other
                  members entitled to vote thereon under the certificate of incorporation or
                  the bylaws of such corporation, at a meeting duly called upon at least 20
                  days’ notice . . . .

8 Del. C. § 271(a) (emphasis added).

         46.      In Esopus Creek Value L.P. v. Hauf, a corporation sought to avoid the stockholder

vote, as required by applicable law and governance documents, to sell substantially all of its assets

and instead commenced a bankruptcy case in which it would seek bankruptcy court approval of

the sale without a stockholder vote. See Esopus Creek Value L.P. v. Hauf, 913 A.2d 593, 596 (Del.

Ch. 2006) (“the board of directors adopted a plan to file a bankruptcy petition once the asset sale

agreement [was] signed, and thereafter seek approval of the sale from the bankruptcy court,

without a meeting and without a vote by the common stockholders”). The reason the corporation

in Esopus Creek sought to file bankruptcy to avoid the stockholder vote was based on its belief

that its delinquencies in its required securities filings prevented it from calling a stockholders

meeting to vote on the proposed sale. However, the Delaware Court of Chancery did not allow

these unusual facts to override Delaware law and prohibited the corporation from “making any

agreement to sell all or substantially all of the assets that [was] not conditioned upon the approval

of the corporation’s common stockholder.” Id. at 597.

         47.      Here, the relevant facts are similar, yet substantially more concerning. Unlike in

Esopus Creek, where the reason for seeking to avoid a stockholder vote was to find a work-around

to a securities regulations issue, here the Debtors actively concealed any details about the proposed

sale and purposefully disregarded their legal and contractual obligation to seek and obtain

shareholder approval of the APA. On July 13, 2020, more than five weeks prior to the Petition

Date, the Debtors entered into the APA with the Stalking Horse Purchaser for the sale of

substantially all of the Debtors assets without notice to, or authorization by, GSSG or KB Group.


                                                 - 18 -

010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22          Main Document
                                            Pg 19 of 20



GSSG only became aware of the APA after the Debtors filed these bankruptcy cases, i.e., five

weeks after the execution date of the APA.

         48.      GSSG did not prior to the Petition Date, and does not today, authorize or consent

to the Debtors’ entering into the APA. The Debtors’ execution of the APA without the notice,

meeting, and vote required under section 271 of DGCL was a clear violation of the rights afforded

to GSSG and KB Group under Delaware law and the Debtors’ governance documents. As Esopus

Creek illustrates, the Debtors’ subsequent filing of the bankruptcy petitions—even if such petitions

were authorized, which they were not—does not allow the Debtors to avoid compliance with

applicable law. Consequently, this Court should find that the APA is null and void ab initio as a

matter of law.




                                                - 19 -

010-9108-1536/11/AMERICAS
20-22962-shl          Doc 98   Filed 09/04/20 Entered 09/04/20 15:05:22           Main Document
                                            Pg 20 of 20



                                          CONCLUSION

          WHEREFORE, for all the reasons set forth herein, GSSG respectfully requests that the

Court enter the order, substantially in the form attached hereto as Exhibit A, (i) dismissing these

chapter 11 cases, (ii) finding that the APA is null and void, ab initio, and (ii) granting such other

and further relief as the Court deems just and proper.

Dated: September 4, 2020
                                                 Respectfully submitted,

                                                 SQUIRE PATTON BOGGS (US) LLP

                                                 By: /s/ Stephen D. Lerner
                                                 Stephen D. Lerner
                                                 201 E. Fourth St., Suite 1900
                                                 Cincinnati, Ohio 45202
                                                 Telephone: 513-361-1200
                                                 Facsimile: 513-361-1201
                                                 Email: stephen.lerner@squirepb.com

                                                 Norman N. Kinel
                                                 Jihyun Park
                                                 1211 Avenue of the Americas, 26th Floor
                                                 New York, NY 10036
                                                 Telephone: 212-872-9800
                                                 Facsimile: 212-872-9815
                                                 Email: norman.kinel@squirepb.com
                                                 Email: jihyun.park@squirepb.com

                                                 Counsel to GSSG Capital Corp.




                                                - 20 -

010-9108-1536/11/AMERICAS
